      Case 3:16-cr-02047-BEN         Document 29       Filed 10/18/16   PageID.63   Page 1 of 1


                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                            Case No. 16CR2047-BEN

                                         Plaintiff,
                       vs.
                                                            JUDGMENT OF DISMISSAL
CHAD ARICK LATHAM(3),

                                      Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
☐
     granted the motion of the Government for dismissal of this case, without prejudice; or

☐    the Court has dismissed the case for unnecessary delay; or

☒    the Court has granted the motion of the Government for dismissal, without prejudice; or

☐    the Court has granted the motion of the defendant for a judgment of acquittal; or

☐    a jury has been waived, and the Court has found the defendant not guilty; or

☐    the jury has returned its verdict, finding the defendant not guilty;

☒    of the offense(s) as charged in the Indictment/Information:
     21:952,960 ‐ Importation of Methamphetamine (Felony)




Dated: 10/13/2016
                                                      Hon. Barbara L. Major
                                                      United States Magistrate Judge
